AFFIDAVIT AND DECLARATION OF FACTS

OF “NOTICE OF DEFAULT AND DEMAND” THAT YOU
FILE YOUR “PROOF OF CLAIM” OR “RELEASE OF CLAIM”

I, Karie A. Simmons, residing at 11127 NE 162™ St., Bothell, WA, herein referred
to as and incorporated into this Affidavit as, “Affiant’”, does solemnly affirm,
declare to the best of her abilities, verify, and state as follows:

1. Affiant is competent to state the matters set forth herein, and;
2. Affiant has first-hand personal knowledge of the facts stated herein, and;

3. Affiant states that all the facts stated herein are true, correct, and complete
to the best of my knowledge of the information that is stated in my NOTICE OF
DEFAULT AND DEMAND” THAT YOU FILE YOUR “PROOF OF
CLAIM” OR “RELEASE OF CLAIM” that I authored on April 8" /2022. If
called upon as a witness, Affiant will testify to the veracity of my personal
understandings and reasons for the drafting of this document.

4, Affiant has acted in “Good Faith and in Honor” by sending Wells Fargo
Bank a lawful copy of the document identified in paragraph above, to allow them
to have the time that they need to File their “Proof of Claim” or “Release of Claim”
in my Bankruptcy Case No. 2210270. I have also given the Bank a detailed outline
of information and the evidence that they will need to produce and attach to their
“Proof of Claim” or “Release of Claim”, in order to substantiate their claim and to
provide the necessary lawful elements for them to provide a “Valid Proof of) ED

Claim” within my instant Bankruptcy Case. Western District of Washington
at Seattle
FURTHER AFFIANT SAYETH NAUGHT. APR 11 2022

MARK L, HATCHER, CLERK

Under the PENALTY OF PERJURY, under the laws of the StafeFoFNRABANKRUPTCY COURT
certify that this “AFFIDAVIT AND DECLARATION OF FACTS", identified

above, is true and correct, and that my 3-page Letter that I drafted entitled

“NOTICE OF DEFAULT AND DEMAND” THAT YOU FILE YOUR

“PROOF OF CLAIM” OR “RELEASE OF CLAIM” is to the best of my

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understanding and knowledge done in Good Faith. I have sent this Affidavit and
my NOTICE OF DEFAULT AND DEMAND letter to provide Wells Fargo
Bank with a detailed outline of the necessary lawful elements that they will need,
in order to substantiate their “Proof of Claim” or their “Release of Claim”, within
my instant Bankruptcy Case.

ryan ma? Date

Exhibit A enclosed: 3-page Letter from Karie A. Simmons that was sent via
REGISTERED Mail to Wells Fargo Bank.

   

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Karie A. Simmons

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EXHIBIT A

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IN THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE CHAPTER 13 BANKRUPTCY

Date April 8", 2022 Case no. 2210270
Karie A. Simmons NOTICE OF DEFAULT AND DEMAND
11127 NE 162" St. THAT YOU FILE YOUR “PROOF OF
Bothell, WA 98011 CLAIM” OR “RELEASE OF CLAIM”
Plaintiff,
vs.
Wells Fargo Bank REGISTERED MAIL NO.

625 Marquette Ave.

 

Minneapolis, MN 55479

Defendant,

NOTICE OF DEFAULT AND DEMAND THAT YOU
FILE YOUR “PROOF OF CLAIM” OR “RELEASE OF CLAIM”

Reference TIN# XX-XXXXXXX
Account No, 7131401882

Plaintiff, Karie A. Simmons, does hereby “lawfully notice” Wells Fargo Bank that you
failed to file your “Proof of Claim” in the above listed Bankruptcy Case. You also failed to
show up at your 341 Creditors Meeting on April 4, 2022. Further, you were lawfully put on
Notice of this Pending Case via a Certified Letter, that I previously sent you marked, Exhibit A
in this letter. This is your “2"' Notice and Demand”, to remind you that if you do have a lawful
claim in this Bankruptcy Estate listed above, that you must immediately file your “Proof of
Claim” within the next 10 days from the date of this Certified letter to secure your lien,
encumbrance or your lawful interest in or on the property referenced in this Bankruptcy Case No.

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2210270. If you do not have a lawful or valid claim, then file a “RELEASE OF CLAIM” in
the interest of the Plaintiff within this case.

This documentation that is demanded is necessary in order to establish whether Wells Fargo
Bank, does or does not have a lawful standing to bring forth remedies entitled to the Defendant
in this instant Case. The Plaintiff in this instant case does hereby lawfully request the Defendant
listed in this Case No. 2210270 to also_ produce the following documents listed below in
numbers 1-7. These documents must be listed or attached to your “PROOF OF CLAIM” as
lawful evidence to verify and validate your claim. Failure to do so, in the time the law
requires you to do so, could result in the Lawful discharge of your aledged debt that is
listed on the previous debt related documents that you have sent me, and that I have
personally filed in this Bankruptcy Case.

 

This lawful action needs to be completed by you or your lawfully appointed legal representative
immediately, within the next 10 days from the Date of this Notice, for the purpose of validation
and verification of your alleged debt, encumbrance or interest in the real property noted above or
your written and signed “Release of Claim” to this property and or estate.

1. Produce the Original “WET INK” Signature Promissory note signed by the
Defendant Karie A. Simmons in association with the loan pursuant to USC Title 18, Part 1,

Chapter 101 § 2071.

2. Provide proof that the Defendant is in fact the Lawful Note Holder in Due Course,
and that Wells Fargo Bank has a “lawful standing as a Party of Interest” in the original
Promissory Note. This is because the Plaintiff has reason to believe that the Defendant might
have bought an interest in the alleged Promissory Note, under a Mortgage backed Securities
Interest from another Mortgage Company, that the Defendant is not a lawful party to, or within,
the original Promissory Note.

3. Defendant “must stipulate to Plaintiff in this case via a Lawful Affidavit” signed
under the “Penalty of Perjury” by someone who can be lawfully subpoenaed, who is able to
show documented Proof and Bona Fide evidence that the Defendant in this instant case is in fact
a “Lawful Secured Creditor of the original Loan/Security Instrument". In this case, a
Lawful Secured Creditor needs to also show true double entry accounting of this debt as
evidence of the transaction, within the original loan to the Plaintiff and the Bankruptcy Court,
according to the Generally Accepted Accounting Principles. (GAAP)

4. If the “Defendant is unable” to or for whatever reason cannot produce a Lawful
“Proof of Claim” that is signed under Penalty of Perjury, Wells Fargo Bank will be unable to
have any Lawful standing in this instant Case, or any other future controversy or claim
concerning this matter.

5. If the Defendant in this case is “unable to produce” a “Lawful Proof of Claim”,
signed under the Penalty of Perjury, then the Plaintiff in this Case, will pray to the Court
and ask for an Order to have the Defendant’s Alleged Debt discharged in favor of the

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Plaintiff. Then Plaintiff will be free to seek whatever lawful remedies or resources that are due to
the Plaintiff in this instant Case.

6. The Defendant's “failure to respond” to this letter will be taken by the Plaintiff as a
Dishonor, and that the Defendant is acting in Bad Faith in this matter. Further, Defendant’s
Silence will be used as evidence that Defendant has acquiesced in this matter, and it will be
treated as an Administrative Default, per the Administrative Procedures Act of 1946. Further, if
Defendant “fails to respond” within the time allowed in this Notice, Defendant’s “Alleged
Secured Debt” will have no legal standing in this instant Case before this Bankruptcy Court.

7. Defendant’s “failure to produce” the Original “WET INK” Signature on the Original
Promissory note will be taken by the Plaintiff as a Dishonor, and that the Defendant is acting in
Bad Faith. Further, Defendant’s Silence will be used as evidence that Wells Fargo Bank has
acquiesced in this matter, and it will be treated as an “Administrative Default” as per the
Administrative Procedures Act of 1946. In closing, Defendant’s “failure to produce” the
documentation requested in this Petition will become the evidence that the Defendant’s Secured
Creditor position in this matter, lacks the necessary lawful elements for a “Valid Proof of
Claim”, and is therefore moot, and lawfully dischargeable within this instant Bankruptcy Case.

 

Singerely,

A Le tt mans Date uyor

Kaye A. Simmons, Plaintiff

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the previous three pages of
this NOTICE OF DEFAULT AND DEMAND THAT YOU FILE YOUR
“PROOF OF CLAIM” OR “RELEASE OF CLAIM” has been sent to Wells
Fargo Bank by way of REGISTERED MAIL to Defendant’s at their last known
address: Wells Fargo Bank, 625 Marquette Ave. Minneapolis, MN 55479 on this gm

day of April, CS ~
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Karie A Simmons

Witness

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EXHIBIT A

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